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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 CINDY LANDEEN,                            )
      Plaintiff/Counterclaim Defendant,    )
                                           )
       vs.                                 )              1:04-cv-1815-LJM-WTL
                                           )
 PHONEBILLIT, INC., and                    )
 MIRROR MEDIA COMPANY,                     )
       Defendants/Counterclaim Defendants, )
 _______________________________________)
 STEVEN V. SANN,                           )
       Respondent/Intervenor/Counterclaim  )
       Plaintiff,                          )
                                           )
       vs.                                 )
                                           )
 NEIL LUCAS,                               )
       Intervenor/Counterclaim Defendant.  )

   ORDER ON CERTAIN COUNTERCLAIM DEFENDANTS’ MOTION TO DISMISS

        This cause is now before the Court on certain counterclaim defendants’, PhoneBILLit, Inc.,

 and Mirror Media Company (“MMC”) (collectively, “Companies”), Motion to Dismiss pursuant to

 Federal Rule of Civil Procedure 12(b)(6) (“Rule 12(b)(6)”) the counterclaims brought against them

 by respondent/intervenor/counterclaim plaintiff Steven V. Sann (“Sann”). Companies contend that

 Sann’s claims against them should fail because it alleges no claim for relief by Sann, individual,

 against Companies, it alleges no basis for a derivative action against Companies, and it does not

 satisfy the requirements of Federal Rule of Civil Procedure 23.1 (“Rule 23.1”).

        For the following reasons the Court GRANTS Companies’ Motion to Dismiss.
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                             I. MOTION TO DISMISS STANDARD

         To rule on Companies’ motion to dismiss for failure to state a claim pursuant to Rule

 12(b)(6), the Court accepts as true all well-pleaded factual allegations in the complaint and the

 inferences reasonably drawn from them. See Baxter by Baxter v. Vigo County Sch. Corp., 26 F.3d

 728, 730 (7th Cir. 1994). Dismissal is appropriate only if it appears beyond doubt that Sann can

 prove no set of facts consistent with the allegations in the complaint that would entitle him to relief.

 See Hi-Lite Prods. Co. v. Am. Home Prods. Corp., 11 F.3d 1402, 1405 (7th Cir. 1993). This

 standard means that if any set of facts, even hypothesized facts, could be proven consistent with the

 complaint, then the complaint must not be dismissed. See Sanjuan v. Am. Bd. of Psychiatry and

 Neurology, Inc., 40 F.3d 247, 251 (7th Cir. 1995), cert. denied, 516 U.S. 1159 (1996). Sann may

 receive the benefit of hypotheses consistent with the complaint. See id. (citing Conley v. Gibson,

 355 U.S. 41, 45-46 (1957)). However, the Court need not ignore facts set out in the complaint that

 undermine Sann’s claims, see Homeyer v. Stanley Tulchin Assoc., 91 F.3d 959, 961 (7th Cir. 1996)

 (citing Am. Nurses’ Ass’n v. Ill., 783 F.2d 716, 724 (7th Cir. 1986)), nor is the Court required to

 accept Sann’s legal conclusions. See Reed v. City of Chi., 77 F.3d 1049, 1051 (7th Cir. 1996); Gray

 v. Dane County, 854 F.2d 179, 182 (7th Cir. 1988).



                                         II. BACKGROUND

         PhoneBILLit was incorporated in Indiana on November 8, 2002. Steven V. Sann’s Verified

 Intervenor’s Individual and Derivative Compl. ¶ 8 (“Sann Compl.”). On June 18, 2003, Mirror

 Media was incorporated in Indiana. Id. ¶ 9. It is unclear from the complaint how the companies are

 interrelated.


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        PhoneBILLit operates in the local exchange carrier (“LEC”) telecommunications industry.

 Id. ¶ 15. A LEC is a carrier of telephone calls and other communication services by telephone lines.

 Id. PhoneBILLit offers a voice mail product that it markets via e-mail advertising campaigns to

 potential customers nationwide. Id. ¶ 16. Consumers use their internet browser to open an offer

 page and then subscribe to the service. Id. Consumers who accept the offer are billed on their LEC

 telephone bill through Billing Concepts, Inc. (“BCI”) in San Antonio, Texas. Id.

        Companies were formed on behalf of Sann and co-counterclaim defendant Cindy Landeen

 (“Landeen”). Id. ¶¶ 17-22. Co-counterclaim defendant Neil Lucas (“Lucas”) acted as counsel to

 Sann, and Companies during the formation process and afterward. Id. ¶¶ 8, 22-29. According to

 the complaint, Companies were incorporated without a formal structure, no board of directors and

 stock never issued to Sann and Landeen as co-equal equity partners. Id. ¶¶ 8-9, 33-34. Lucas

 apparently has an 18% equity interest in Companies pursuant to an agreement between himself, Sann

 and Landeen, whereby Lucas would obtain the interest in exchange for legal services. Id. ¶ 24.

        In late 2003, Sann became uncomfortable using Lucas as his personal advisor on matters

 related to Companies; Sann sought outside counsel in early 2004. ¶¶ 36-37. From early 2004

 through that summer, the relationship between Sann, Landeen and Lucas continued to deteriorate.

 Id. ¶¶ 74-84. Essentially, Sann alleges that Landeen and Lucas used PhoneBILLit resources for their

 own gain to his and PhoneBILLit’s detriment from summer 2004, through early- to mid-2005. Id.

 ¶¶ 74-127.

        The Sann complaint alleges that Lucas: committed acts of attorney malpractice against Sann

 and Companies, id. ¶¶ 128-32; breached a contract with Sann, id. ¶¶ 133-38; breached a fiduciary

 duty owed Sann, and possible Companies, id. ¶¶ 139-48; frauded Sann out of nine shares in


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 Companies, id. ¶¶ 149-55; constructively frauded Sann and Companies to their detriment, id. ¶¶ 156-

 69; profited unjustly to Sann’s detriment, id. ¶¶ 170-73; and committed securities fraud to the

 detriment of Sann and Companies, id. ¶¶ 174-95. The complaint also alleges that Landeen: breached

 a fiduciary duty owed Sann and Companies, id. ¶ 196-202; and committed conversion. Id. ¶¶ 214-

 26. The Sann complaint also alleges other violations by both Lucas and Landeen to the detriment

 of Sann and Companies: misappropriation of trade secrets, id. ¶¶ 203-08; breach of corporate

 opportunities, id. ¶¶ 209-13; criminal mischief, id. ¶¶ 227-33; unfair competition, id. ¶¶ 234-38;

 tortious interference with business relationships and prospective advantages, id. ¶¶ 239-45; and

 conspiracy, id. ¶¶ 246-49.



                                           III. DISCUSSION

         Companies first argue that the Sann complaint does not follow the requirements of Rule 23.1.

 Generally, under Rule 23.1 in Indiana, a shareholder must satisfy four requirements to bring a

 derivative action, namely: the complaint must be verified; the plaintiff must have been a shareholder

 at the time of the transaction of which he complains; the complaint must describe the efforts made

 by the plaintiff to obtain the requested action from the board of directors; and the plaintiff must fairly

 and adequately represent the interest of the shareholders. See G&N Aircraft, Inc. v. Boehm, 743

 N.E.2d 227, 234-35 (Ind. 2001). Typically, derivative actions are brought by a shareholder on behalf

 of the corporation to recover for injuries sustained to the corporation by acts by an officer or director

 adverse to the company. Id. at 235.

         Here, although Sanns has evidenced his intent to bring a suit on behalf of PhoneBILLit to

 recover for injuries sustained by PhoneBILLit as a result of acts by its officers/directors, Landeen


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 and Lucas, Sann’s and PhoneBILLit’s interests in recovery is directly opposed to that of the other

 shareholders, Landeen and Lucas. In other words, in the circumstances presented here there is

 almost no way to distinguish between the harm to Sann and the harm to Companies at the hands of

 Landeen and Lucas.

        Sann argues that his interest in recovering for PhoneBILLit is aligned with Landeen because

 if “derivative” claims against Lucas succeed, Landeen stands to gain from PhoneBILLit’s gain.

 However, some of PhoneBILLit’s claims are against Landeen, which makes that company’s interests

 directly opposed to that of a shareholder.

        In addition, like in the Barth v. Barth, 659 N.E.2d 559 (Ind. 1995), case, the lines between

 the derivative actions and Sann’s personal actions is blurred by the closely-held nature of

 Companies. In such a case, the Indiana Supreme Court has adopted the American Law Institute’s

 Principles of Corporate Governance, Section 7.01(d), to hold that

        a shareholder of a close corporation may proceed against fellow shareholder[s] in a
        direct action if that form of action would not : (1) unfairly expose the corporation or
        the defendants to a multiplicity of actions, (2) materially prejudice the interests of
        creditors of the corporation, or (3) interfere with a fair distribution of the recovery
        among all interested persons.

 G&N Aircraft, 743 N.E.2d at 236 (citing Barth, 659 N.E.2d at 562). The principles for derivative

 actions does not hold up in the circumstances in this case because there are no disinterested

 directors/shareholders. See id.

        In summary, the Court finds that Sann’s attempt to bring a derivative action must fail because

 his interests and those of the other shareholders are diverse, and under the circumstances presented

 here, there are no disinterested directors/shareholders.

        Furthermore, Sann does not clearly articulate any harm to Mirror Media as a result of the


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 actions of either Lucas or Landeen. As such, all of his claims against Lucas and Landeen related to

 Mirror Media are personal and not derivative.



                                       IV. CONCLUSION

          For the foregoing reasons, the Court GRANTS certain counterclaim defendants’,

 PhoneBILLit, Inc., and Mirror Media Company, Motion to Dismiss the claims brought against them

 by intervenor/counterclaim plaintiff Steven V. Sann.

          IT IS SO ORDERED this 18th day of October, 2005.



                                                        ___________________________________
                                                        _______________________________________
                                                        LARRY J. McKINNEY, CHIEF JUDGE
                                                        LARRY   J. McKINNEY,
                                                        United States             CHIEF JUDGE
                                                                      District Court
                                                        United States District Court
                                                        Southern District of Indiana
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